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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

JAMES R. NEKVASIL, JR.,                       )
Reg. No. 04317-027,                           )
                                              )
      Plaintiff,                              )
                                              )
      v.                                      )      Civil Action No.
                                              )      2:20-cv-274-ECM-JTA
DAVID BREWER, et al.,                         )
                                              )
      Defendants.                             )

                                      ORDER

      The Magistrate Judge has reviewed the special report and answer filed by

Defendants (Doc. 38) and has determined that Plaintiff shall file a response to

Defendants’ arguments that:

      1. The injunctive-only relief Plaintiff seeks is not available in a lawsuit under

Bivens v. Six Unknown Named Agent of the Federal Bureau of Narcotics, 403 U.S.

388 (1971).

      2. Plaintiff failed to effectuate proper service on each Defendant as required

by Fed. R. Civ. P. 4(e).

      3. Plaintiff’s complaint must be dismissed as moot because Plaintiff has been

released from Montgomery Federal Prison Camp (“Montgomery FPC”) to the

Detroit Residential Reentry Management field office in Michigan.
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       4. Plaintiff’s complaint must be dismissed because he failed to exhaust his

available administrative remedies as required by the Prison Litigation Reform Act

(“PLRA”).1 See Booth v. Churner, 532 U.S. 731, 741 n.6 (2001) (“Congress has

provided in [42 U.S.C.] § 1997(e)(a) that an inmate must exhaust irrespective of the

forms of relief sought and offered through administrative remedies.”); Porter v.

Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA’s exhaustion requirement applies

to all inmate suits about prison life, whether they involve general circumstances or

particular episodes, and whether they allege excessive force or some other wrong.”);

Woodford v. Ngo, 548 U.S. 81, 93 (2006) (“[T]he PLRA exhaustion requirement

requires proper exhaustion.”). “Proper exhaustion demands compliance with an

agency’s deadlines and other critical procedural rules [as a precondition to filing suit

in federal court] because no adjudicative system can function effectively without

imposing some orderly structure on the courts of its proceedings. . . . Construing §

1997e(a) to require proper exhaustion . . . fits with the general scheme of the PLRA,

whereas [a contrary] interpretation [allowing an inmate to bring suit in federal court




1
  Title 42 U.S.C. § 1997e(a) of the PLRA provides that “[n]o action shall be brought with respect
to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner
confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted.” Defendants assert that Plaintiff failed to exhaust the administrative
remedy available to him through the Bureau of Prisons’ Administrative Remedy Program.
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once administrative remedies are no longer available] would turn that provision into

a largely useless appendage.” Id. at 90–91.

       Accordingly, it is

       ORDERED that by December 28, 2020, Plaintiff shall file a response to the

special report and answer filed by Defendants. If Plaintiff fails to file a response as

required by this order, the court will treat Plaintiff’s failure to respond as an

abandonment of the claims in the complaint and as a failure to prosecute this action.

Moreover, Plaintiff is specifically cautioned that if he fails to file a response in

compliance with the directives of this order the undersigned will recommend that

this case be dismissed for such failure. In addition, if Plaintiff fails to respond to the

special report and answer regarding each claim in his complaint, the court will treat

this failure as abandoning these claims and shall proceed as justice requires.

       As indicated herein, at some time in the future the court may treat Defendants’

report and Plaintiff’s response as a dispositive motion (either a motion to dismiss or

motion for summary judgment) and as response to the motion. Thus, in filing a

response to Defendants’ report, Plaintiff should not rely only on his unsworn

pleadings but should respond by filing sworn affidavits2 or statements, or other


2
  An affidavit is a sworn statement in writing made under oath or on affirmation before a notary
public or other authorized officer. If a notary/authorized officer is not available, the plaintiff may
support his response with a statement made under penalty of perjury as allowed by well-established
federal law. See 28 U.S.C. § 1746 (Whenever . . . any matter is required or permitted to be
supported, evidenced, established, or proved by the sworn declaration, verification, certificate,
statement, oath, or affidavit, in writing of the person making the same . . ., such matter may, with
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evidentiary materials developed through discovery or other appropriate means and

which set forth specific facts demonstrating there is a genuine issue of material fact

for trial. Failure to file sworn affidavits or other evidentiary materials may result in

this court accepting Defendants’ evidence as the truth. If documents are referred to

in the opposing affidavits/sworn statements and have not been previously filed with

the court, sworn or certified copies of those papers must be attached to the affidavits

or served with them.

       The parties are notified that, unless within fifteen (15) days from the date of

this order a party files a response in opposition which presents sufficient legal cause

why such action should not be undertaken, upon the expiration of the time for

Plaintiff to file a response as allowed by this order, the court may at any time

thereafter and without further notice to the parties (1) treat the special report and any

supporting evidentiary materials as a motion for summary judgment and (2) after

considering any response as allowed by this order, rule on the motion for summary

judgment in accordance with the law.




like force and effect, be supported, evidenced, established, or proved by the . . . declaration,
certificate, verification, or statement, in writing of such person which is subscribed by him, as true
under penalty of perjury, and dated, in substantially the following form. . . . If executed within the
United States, its territories, possessions, or commonwealths: I declare (or certify, verify, or state)
under penalty of perjury that the foregoing is true and correct. Executed on (date). (Signature). ).
The affidavit or certified/verified statement must be made on personal knowledge, set forth such
facts as would be admissible in evidence, and show affirmatively that the affiant is competent to
testify to the matters stated in the affidavit.

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      Failure to follow the requirements of this order about the proper way to

respond to Defendants’ special report and answer will result in a recommendation

of the Magistrate Judge that final judgment be entered for Defendants without an

evidentiary hearing.

      DONE this 7th day of December, 2020.



                         /s/ Jerusha T. Adams
                        JERUSHA T. ADAMS
                        UNITED STATES MAGISTRATE JUDGE




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